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                                       September 23, 2024

VIA ECF
Honorable Andrew L. Carter
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Sean Combs, 24-cr-00542 (ALC)

Dear Judge Carter:

        Following the September 18, 2024, court appearance, the Court ordered a status update
from counsel concerning any request related to the location of Mr. Combs’ detention. At this point,
there is no request from counsel that the Court take any action. Thank you.

                                     Respectfully submitted,



                                          Marc Agnifilo
                                          Teny Geragos

cc :   Counsel for the Government (via ECF)
